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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:22−cr−00323
                                                          Honorable Steven C. Seeger
Thomas Pavey, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 22, 2023:


        MINUTE entry before the Honorable Steven C. Seeger as to Raheim Hamilton:
The Court amends its previous order (Dckt. No. [61]) to include the exclusion of time.
Without objection, the Court excludes time in the interest of justice and for the reasons
stated by the parties under 18 U.S.C. § 3161(h)(6) and (h)(7). Mailed notice. (jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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